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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                         )   MDL No. 16-2740
PRODUCTS LIABILITY                                  )
LITIGATION                                          )   SECTION: “H” (5)
                                                    )
This document relates to:                           )
Kelly Gahan, No. 16-15283                           )


                                 ORDER AND REASONS
         Before the Court is a Motion for Summary Judgment (Doc. 5730). The
Court held oral argument on the Motion on December 5, 2019. For the following
reasons, the Motion is GRANTED.


                                      BACKGROUND
         Plaintiffs in this multidistrict litigation (“MDL”) are suing several
pharmaceutical          companies      that     manufactured   and/or   distributed   a
chemotherapy drug, Taxotere or docetaxel, 1 that Plaintiffs were administered
for the treatment of breast cancer or other forms of cancer. Plaintiffs allege
that the drug caused permanent alopecia—in other words, permanent hair
loss. Plaintiffs bring claims of failure to warn, negligent misrepresentation,
fraudulent misrepresentation, and more.
         Defendants bring this Motion for Summary Judgment requesting that
all claims filed by Plaintiff Kelly Gahan be dismissed. Dr. Gahan is an
emergency room physician and was diagnosed with breast cancer in 2013. She
completed her treatment that same year. Plaintiff Gahan asserts eight claims
against Defendants under Colorado law: (I) strict products liability for failure
to warn; (II) strict products liability for misrepresentation; (III) negligence;


1   Docetaxel is the generic version of Taxotere.
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(IV) negligent misrepresentation; (V) fraudulent misrepresentation; (VI)
fraudulent concealment; (VII) fraud and deceit; and (VIII) breach of express
warranty. Counts II and VIII have been dismissed in pre-trial orders, and
Plaintiff does not oppose summary judgment on Count IV for negligent
misrepresentation. 2 Accordingly, five of her eight claims are in dispute, and
Defendants seek summary judgment on all of them.


                                LEGAL STANDARD
       Summary judgment is warranted where “there is no genuine dispute as
to any material fact and the movant is entitled to judgment as a matter of
law.” 3 A genuine issue of fact exists only “if the evidence is such that a
reasonable jury could return a verdict for the nonmoving party.” 4 Rule 56 of
the Federal Rules of Civil Procedure “mandates the entry of summary
judgment, after adequate time for discovery and upon motion, against a party
who fails to make a showing sufficient to establish the existence of an element
essential to that party’s case, and on which that party will bear the burden of
proof at trial.” 5


                               LAW AND ANALYSIS
       Defendants aver that Plaintiff’s failure to warn claims fail because
Plaintiff’s physician’s prescribing decision would not have changed even with
a different warning. Defendants next argue that Plaintiff’s fraud-based claims




2 Plaintiff acknowledges that Colorado law restricts negligent misrepresentation claims to
certain contexts. Accordingly, the Court grants summary judgment on this claim.
3 Fed. R. Civ. P. 56.
4 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
5 Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).



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fail because Defendants never made any direct representation to Plaintiff. The
Court will address the arguments in turn.


 I.     Plaintiff’s Failure to Warn Claims
        Defendants argue that they are entitled to summary judgment on
Plaintiff’s negligence and strict liability claims for failure to warn. Relying in
part on the learned intermediary doctrine, Defendants argue that Plaintiff has
failed to introduce evidence that a different warning from Defendants would
have led Dr. Gahan’s oncologist, Dr. Virginia Borges, to change her prescribing
decision. Defendants aver that Dr. Borges had prior independent knowledge of
the risk of permanent alopecia associated with Taxotere and nonetheless
prescribed a Taxotere regimen to Plaintiff Gahan. Defendants argue that
because of Dr. Borges’s actions as an intermediary, the causation chain is
broken. Notably, Defendants are not asking this Court to find that their
warning to Dr. Borges was adequate. Instead, they ask the Court to find that
the alleged inadequate warning did not cause Plaintiff’s injury.
        In response, Plaintiff argues that the learned intermediary doctrine does
not absolve Defendants of liability. Plaintiff argues that the application of the
learned intermediary doctrine requires a finding that the drug label
adequately advised the physician of the risk at issue. Plaintiff avers that in
this case, the Taxotere label included no warning of the risk of permanent
alopecia. Therefore, according to Plaintiff, the doctrine is inapplicable, even
though Dr. Borges had some independent knowledge of the risk and prescribed
Taxotere despite this knowledge.




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       To prevail on a negligence or strict liability claim of failure to warn under
Colorado law, a plaintiff must prove causation. 6 Specifically, a plaintiff must
prove that the manufacturer’s inadequate warning caused the plaintiff’s
injury. 7 According to Defendants, the learned intermediary doctrine bears on
the causation analysis. Plaintiff disagrees. The learned intermediary doctrine
provides that in cases involving prescription drugs, the manufacturer’s duty to
warn runs to the prescribing physician, not the ultimate user. 8 This is because
the physician is “trained to assess the risks and benefits of the drug as applied
clinically to a particular patient.” 9 Under this doctrine, Colorado law permits
the granting of summary judgment in cases where a manufacturer provided an
adequate warning to the prescribing physician. 10
       Defendants emphasize that no label change would have altered Dr.
Borges’s recommendation that Gahan use a Taxotere regimen. However, this
Court does not view this issue so narrowly. This Court has previously ruled in
this MDL that a plaintiff must show that an adequate warning would have
changed her doctor’s prescribing decision. 11 Indeed, Colorado law is consistent
with this. 12 Under this framework focusing on the prescribing decision, the
Court finds that Plaintiff has failed to create an issue of fact on causation.
       As this Court has noted, the chemotherapy context is unique. 13 A doctor
will only prescribe and administer a certain chemotherapy regimen when she


6 O’Connell v. Biomet, Inc., 250 P.3d 1278, 1280–81 (Colo. App. 2010) (strict   liability claim).
7 See id. at 1281.
8 See id.
9 Id.
10 See Caveny v. CIBA-GEIGY Corp., 818 F. Supp. 1404, 1404–06 (D. Colo.1992) (granting
summary judgment where package insert warned prescribing physician of possible adverse
reaction with probable causal relationship).
11 Doc. 7571 (applying Georgia and Louisiana law).
12 See O’Connell, 250 P.3d at 1281 (“The plaintiff has the burden of proving that the
manufacturer gave an inadequate warning that caused the injury.”).
13 Doc. 7571.


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has informed consent from her patient. If the patient refuses to give informed
consent to a certain recommended regimen, the doctor must adapt her
prescribing decision or lose her patient to another doctor.
         Here, the uncontroverted evidence shows that Dr. Borges had the
following information—she had three prior patients who suffered permanent
hair loss after taking Taxotere, and she read numerous articles in dermatology
publications, as well as an article by Dr. Scot Sedlacek describing the risk of
permanent alopecia associated with Taxotere. Defendants’ Motion reveals that
this information was shared with Dr. Gahan. Despite this knowledge, Dr.
Gahan chose to proceed with a Taxotere-containing regimen as recommended
and ultimately prescribed by Dr. Gahan.
         As Defendants note, Dr. Borges presented Plaintiff Gahan with two
chemotherapy options—a Taxotere-containing regimen and a non-Taxotere-
containing regimen. Dr. Borges testified that while the Taxotere regimen was
her “preferred regimen,” the two regimens “were considered equivalent by the
field.” 14 Dr. Borges and Plaintiff discussed many times the pros and cons of
these two regimens, weighing Plaintiff’s concerns about permanent hair loss
against other concerns.
         While Dr. Borges recommended the Taxotere-containing regimen, the
evidence supports the inference that she would have prescribed Gahan a non-
Taxotere regimen if Gahan had preferred that. Indeed, Dr. Borges testified
that she merely guides her patients to their decisions:
                [T]here’s a lot of conversations in my world that are
                teaching someone to understand risk assessment,
                benefit assessment, and weigh those for themselves,
                and put it in their view of the world and their personal
                health and their choice and their willing[ness] to

14   Doc. 8062-3 at 14.

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             accept diminishment of the quality of life in a
             temporary way and some permanent risks that can
             occur with these treatments that we’re recommending.
             And then help guide her to the best-informed choice
             that she can make for herself. 15

Regarding Gahan specifically, Dr. Borges testified as follows:
             Kelly had asked a lot of different questions about the
             pros and cons of both regimens and a lot of questions
             about what I had seen women experience with the cold
             caps. When I had asked her to give me a decision
             because her starting date that she had selected was
             coming up, it is my recollection that she chose the TCH
             regimen, and she did that after fully evaluating all of
             her choices.

The evidence shows then that Dr. Borges made her prescribing decision only
after several robust discussions with Dr. Gahan about her two options. It was
Dr. Gahan who made the ultimate decision to proceed with the Taxotere
regimen, and she did so after conducting her own research in addition to her
conversations with Dr. Borges. Dr. Gahan visited the “Taxotears” website and
read posts from women discussing their hair loss. 16 Dr. Gahan also searched
medical search engines and found two articles describing a link between
Taxotere and permanent hair loss. 17
       Defendants also emphasize that Dr. Borges had independent knowledge
of the risk of permanent hair loss associated with Taxotere, yet she
recommended Taxotere to Dr. Gahan anyway. As previously noted, Dr. Borges
testified that before she treated Gahan, she had three patients who had used
a Taxotere regimen and then suffered permanent hair loss. This information


15 Doc. 8062-3 at 12–13.
16 Doc. 5730-7 (pp. 22–25).
17 Id. The Court notes that Dr. Borges advised Dr. Gahan to be wary of some of this
information because it may be unreliable. Nonetheless, Dr. Gahan had knowledge of it.

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was shared and discussed with Dr. Gahan. Dr. Borges also provided Dr. Gahan
with the Sedlacek article discussing the risk of permanent alopecia associated
with Taxotere. Unsurprisingly, in her testimony, Dr. Borges testified that she
still would have recommended Taxotere even if there had been a warning about
permanent hair loss in the label. 18 She testified as follows:
                 Q: And no matter what the label change that might
                 have happened for the Taxotere label would not have
                 changed your recommendation [of a Taxotere-
                 containing regimen]?

                 A: Not for the use of the chemotherapy regimen. I do
                 think it might have swayed [Gahan’s] decision to use
                 the cold caps had I been able to give her real
                 information as opposed to three anecdotal cases. 19

Based on Dr. Borges’s testimony, a label change would not have changed her
decision to recommend Taxotere. Further, Dr. Borges believes that a label
change would not have affected Dr. Gahan’s decision to use the Taxotere
regimen as recommended by Dr. Borges. She believes it may, however, have
swayed Dr. Gahan to use cold caps with the Taxotere regimen.
         The Court notes that Dr. Gahan made an informed choice not to use the
cold caps, despite Dr. Borges’s recommendation. Dr. Gahan was aware of
reports of permanent hair loss associated with Taxotere, and she discussed this
at length with Dr. Borges. She chose not to proceed with cold caps because of
her fear of cell migration. One of her medical providers wrote that Dr. Gahan
“decided the process of hair preservation was not worth the risk of leaving
circulating tumor cells in her body.” 20 At her deposition, Dr. Gahan testified
that she was willing to lose her hair for four months to eliminate any possibility

18   Doc. 8062-1 at 6.
19   Doc. 8062-1 at 6.
20   Doc. 5370-7 (p. 250).


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of circulating tumor cells. 21 The Court notes that cold caps were in the infancy
stage of use at the time of Dr. Gahan’s treatment. Despite her decision not to
use cold caps, Dr. Gahan chose to proceed with Taxotere.
           This Court cannot escape the undeniable conclusion that Dr. Gahan was
aware of the risk of permanent hair loss and nonetheless proceeded with the
Taxotere chemotherapy regimen. The Court finds that Plaintiff has failed to
create an issue of fact on whether Dr. Borges’s prescribing decision would have
changed if Sanofi had adequately warned of the alleged risk of permanent
alopecia associated with Taxotere. Accordingly, because Plaintiff cannot create
an issue of fact on causation, Defendants’ Motion is granted on Plaintiff’s
claims for negligence and failure to warn.


II.        Plaintiff’s Fraud-Based Claims
           Defendants argue that they are entitled to summary judgment on
Plaintiff’s remaining claims of fraudulent misrepresentation, fraudulent
concealment, and fraud and deceit. Defendants aver that for these causes of
action, a plaintiff must show reliance on a misrepresentation. Defendants
argue that Dr. Gahan cannot make such a showing because Defendants never
made any representations directly to Plaintiff. Defendants argue that
pursuant to the learned intermediary doctrine, they had no duty to
communicate directly with Plaintiff. Defendants further aver that because no
representation was made directly to Gahan, Gahan cannot show that she relied
on such a representation.
           In Colorado, to establish fraud, a plaintiff must present evidence that (1)
the defendant made a false representation of a material fact, knowing that



21   Id.

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representation to be false; (2) that the person to whom the representation was
made was ignorant of the falsity; (3) that the representation was made with
the intention that it be acted upon; and, (4) that the reliance resulted in
damage to the plaintiff. 22 Plaintiff Gahan cannot show that she relied on a
misrepresentation by Defendants. As discussed herein, Dr. Gahan had
knowledge of the risk of permanent alopecia associated with Taxotere yet chose
to take a Taxotere regimen anyway. She did not rely on Defendants’ allegedly
inadequate warning label. The evidence shows that regardless of the adequacy
of Defendants’ warning, Plaintiff would have taken a Taxotere regimen.
Accordingly, because Plaintiff cannot create an issue of fact on the reliance
element, summary judgment is granted on her fraud-based claims.


                                     CONCLUSION
       For the foregoing reasons, IT IS ORDERED that Defendants’ Motion
for Summary Judgment (Doc. 5730) is GRANTED. Plaintiff’s claims are
DISMISSED WITH PREJUDICE.


       New Orleans, Louisiana this 26th day of February, 2020.



                                              JANE TRICHE MILAZZO
                                              UNITED STATES DISTRICT JUDGE




22 Coors v. Security Life of Denver Ins. Co., 112 P.3d 59, 66 (Colo. 2005). See also NetQuote,
Inc. v. Byrd, 2008 WL 2552871, at *3 (D. Colo. June 17, 2008); BP Am. Prod. Co. v. Patterson,
263 P.3d 103, 109 (Colo. 2011) (setting forth elements of fraudulent concealment and
discussing reliance element).

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